            Case 2:21-cv-00661-MJP               Document 32     Filed 12/01/21      Page 1 of 2




 1

 2

 3

 4

 5

 6

 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9

10          PEARL THOMAS,                                      CASE NO. C21-661 MJP

11                                  Plaintiff,                 DISMISSAL ORDER

12                  v.

13          AMAZON.COM, INC.; AMAZON
            WEB SERVICES, INC.; KEITH
14          DURJAVA; JIM HANDORF,

15                                  Defendants.

16
            The Court having been notified of the settlement of this case, and it appearing that no
17
     issue remains for the court’s determination,
18
            IT IS ORDERED that this action and all claims asserted herein are DISMISSED with
19
     prejudice and without costs to any party.
20
            In the event that the settlement is not perfected, any party may move to reopen the case,
21
     provided that such motion is filed within sixty (60) days of the date of this order. Any trial date
22
     and pretrial dates previously set are hereby VACATED.
23
            The clerk is ordered to provide copies of this order to all counsel.
24


     DISMISSAL ORDER - 1
           Case 2:21-cv-00661-MJP    Document 32   Filed 12/01/21     Page 2 of 2




 1         Dated December 1, 2021.

 2                                            A
                                              Marsha J. Pechman
 3
                                              United States Senior District Judge
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24


     DISMISSAL ORDER - 2
